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                                          45%5)/)05

        1.       :k fZW Eaf[a`( fZW <WTfade eWW] SgfZad[lSf[a` fa W`fWd [`fa fZW <WhW^ab_W`f

9YdWW_W`f fa bdWeWdhW fZW abf[a` fa SVhS`UW S` [`\WUfST^W Xad_ aX `S^_WXW`W VWh[UW fa fdWSf ab[a[V

ahWdVaeWe* AX SbbdahWV( fZW Eaf[a` iag^V eWW_ fa _ahW fZW <WTfade a`W efWb U^aeWd fa fZW[d

VWe[dWV pfdS`eXad_Sf[a` [`fa S bgT^[U TW`WX[f UadbadSf[a`q fZdagYZ bgT^[U ZWS^fZ [`[f[Sf[hWe

Ua`fW_b^SfWV g`VWd fZW eWff^W_W`f XdS_Wiad] bdabaeWV Sf fZW agfeWf aX fZWeW USeWe &fZW pHgT^[U

@WS^fZ A`[f[Sf[hWq'* Eaf* n 3* M`VWd^k[`Y fZ[e Eaf[a` [e fZW Xg`VS_W`fS^ cgWef[a` aX iZSf eZag^V

ZSbbW` fa fZW <WTfader Tge[`WeeWe gba` W_WdYW`UW Xda_ UZSbfWd --*

        2.       9e fZW ;agdf [e SiSdW( fZW ;a__[ffWW ZSe `af kWf Xad_WV S h[Wi dWYSdV[`Y fZW _aef

TW`WX[U[S^ agfUa_W Xad fZW <WTfader Tge[`WeeWe S`V fZW[d WefSfWe( fZW W`f[dW hS^gW aX iZ[UZ i[^^

TW^a`Y fa fZW ;a__[ffWWre Ua`ef[fgW`fe* A`VWWV( fZW ;a__[ffWW dWUW[hWV fZW <WTfader bdabaeWV

Tge[`Wee b^S` &fZW p:ge[`Wee H^S`q'( iZ[UZ [e bdW_[eWV gba` fZW <WTfader h[e[a` Xad fZW XgfgdW aX

HgdVgW( ^Wee fZS` fia iWW]e SYa* LZW ;a__[ffWW UgddW`f^k [e W`YSYWV [` WjfW`e[hW V[^[YW`UW S`V

S`S^ke[e dWYSdV[`Y S^^ SebWUfe aX fZW :ge[`Wee H^S`( S`V( Sf fZ[e WSd^k efSYW aX fZW USeWe( ZSe

cgWef[a`e dWYSdV[`Y iZWfZWd fZW HgT^[U @WS^fZ A`[f[Sf[hW( iZ[UZ bdabaeWe fa geW WefSfW hS^gW fZSf

iag^V afZWdi[eW TW ShS[^ST^W fa UdWV[fade fa bdah[VW ab[a[V ahWdVaeW dWhWdeS^ _WV[USf[a`e S`V

SVV[Uf[a` fdWSf_W`f _WV[USf[a`e fa fZW YW`WdS^ bgT^[U a` S `a`bdaX[f TSe[e( [e fZW abf[_S^ agfUa_W

Xad UdWV[fade*

        3.       LZW ;a__[ffWW [e S^ea W`YSYWV [` V[eUgee[a`e i[fZ S^^ aX fZW <WTfader efS]WZa^VWde

dWYSdV[`Y fZW <WTfader bdabaeWV :ge[`Wee H^S` S`V fZW HgT^[U @WS^fZ A`[f[Sf[hW* LZW ;a__[ffWW

[e ZabWXg^ fZSf egUZ V[eUgee[a`e i[^^ dWeg^f [` S g`[X[WV h[Wi dWYSdV[`Y fZW Sbbdabd[SfW fdS\WUfadk

Xad fZWeW USeWe S`V( g^f[_SfW^k( fZW XgfgdW aX HgdVgW( Tgf `a egUZ Ua`eW`ege ZSe TWW` dWSUZWV Sf

fZ[e f[_W* 9e egUZ( S`V Y[hW` fZW _kd[SV [eegWe fZSf _gef TW dWea^hWV [` fZWeW UZSbfWd -- USeWe



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TWXadW fZW HgT^[U @WS^fZ A`[f[Sf[hW _Sk TWUa_W S dWS^[fk( fZW Eaf[a`( fa fZW WjfW`f [f eWW]e fa XgdfZWd

fZW HgT^[U @WS^fZ A`[f[Sf[hW( [e bdW_SfgdW Sf TWef*

         4.       Fa`WfZW^Wee( [` ^[YZf aX &S' fZW <WTfader SeegdS`UWe fZSf fZW W`fWd[`Y [`fa fZW

<WhW^ab_W`f 9YdWW_W`f i[^^ `af T[`V fZW <WTfade fa fZW HgT^[U @WS^fZ A`[f[Sf[hW( &T' fZW <WTfader

ST[^[fk fa fWd_[`SfW fZW <WhW^ab_W`f 9YdWW_W`f Tk bSk[`Y S dWSea`ST^W fWd_[`Sf[a` XWW S`V &U'

fZW dW^Sf[hW^k ^[_[fWV Uaefe SeeaU[SfWV i[fZ bdWeWdh[`Y fZW abf[a` fa VWhW^ab Sgfa[`\WUfST^W

`S^_WXW`W( fZW ;a__[ffWW ZSe VWfWd_[`WV fZSf S`k f[_W S`V dWeagdUWe VWhafWV fa aT\WUf[`Y fa fZW

Eaf[a` iag^V TW TWffWd ebW`f SVVdWee[`Y afZWd USeW [eegWe* >ad fZW Sha[VS`UW aX VagTf( fZW

;a__[ffWWre VWU[e[a` `af fa aT\WUf fa fZW Eaf[a` eZag^V `af TW [`fWdbdWfWV Se S` [`V[USf[a` aX [fe

egbbadf Xad fZW <WhW^ab_W`f 9YdWW_W`f( fZW HgT^[U @WS^fZ A`[f[Sf[hW( fZW HgT^[U :W`WX[f ;a_bS`k

ad fZW <WTfader bdabaeWV :ge[`Wee H^S`* LZW ;a__[ffWW dWUaY`[lWe( ZaiWhWd( fZSf S bgT^[U

b^WSV[`Y [e `af fZW Sbbdabd[SfW Xadg_ fa W`YSYW [` fZ[e VWTSfW S`V( fZWdWXadW( X[^We fZ[e KfSfW_W`f

e[_b^k fa _S]W fZW ;agdf SiSdW aX UWdfS[` aX [fe Ua`UWd`e dWYSdV[`Y fZW Eaf[a` S`V fZW :ge[`Wee

H^S` YW`WdS^^k*

I.       5@= 'ECCAII== ,:H 'ED;=GDH 3=?:G<AD? I@= (=K=BEFC=DI %?G==C=DI

         5.       LZW <WhW^ab_W`f 9YdWW_W`f [e S Ua_ba`W`f aX fZW <WTfader bdabaeWV HgT^[U

@WS^fZ A`[f[Sf[hW* 4;; Eaf* nn 3)-.7 );8HDFGM -C<DFB7H?DC7A 'F?;< Q=;> Fa* -3R Sf -.)-/*3




3
  The concept of the Public Health Initiative is included in the settlement term sheet among the Debtors, the ad hoc
Ua__[ffWW aX YahWd`_W`f S`V afZWd Ua`f[`YW`f ^[f[YSf[a` U^S[_S`fe &fZW pConsenting Ad Hoc Committeeq' S`V UWdfS[`
trusts and other entities associated with the Sackler family, which was filed on October 8, 2019. See Notice of Filing
of Term Sheet with Ad Hoc Committee [ECF No. 257] &fZW pSettlement Term Sheetq'. The Settlement Term Sheet
contemplates, among other things, that upon the effective date of a chapter 11 plan, the Debtors will transfer all of
fZW[d SeeWfe fa S fdgef ad e[_[^Sd efdgUfgdW Xad fZW TW`WX[f aX S^^ U^S[_S`fe &fZW pPublic Benefit Companyq', which will
be run by independent directors selected by creditors or their representatives. Id. ¶ 2. Notably, the proposed
XdS_Wiad] Xad eWff^W_W`f &fZW pSettlement Frameworkq' agf^[`WV [` fZW KWff^W_W`f LWd_ KZWWf [e `af T[`V[`Y a` fZW
Debtors or any other parties. Indeed, the Debtors have made clear that they have not yet concluded that the Settlement
Framework is in the best interests of their estates and creditors. See @drY Ld* Sf 3.615-16 (Nov. 6, 2019) &<WTfader
counsel6 p`a a`W ZSe kWf e[Y`WV a` S`k bSdf[Ug^Sd X[`S^ agfUa_W aX fZ[e USeWq'7 id. at 72:10--. &pQORWrdW `af YWff[`Y fa
XgfgdW YSfWe [` fZ[e USeW g`^Wee iW ZShW S dWS^ VWS^ fZSf iW TW^[WhW Se X[VgU[Sd[We [e fZW Sbbdabd[SfW a`W*q'.

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KbWU[X[US^^k( fZW <WhW^ab_W`f 9YdWW_W`f Ua`fW_b^SfWe S` SddS`YW_W`f TWfiWW` fZW <WTfade S`V

S ebWU[S^fk bZSd_SUWgf[US^ Ua_bS`k fZSf VWhW^abe bdabd[WfSdk VdgY VWh[UW Ua_T[`Sf[a`e &fZW

pLWUZ`a^aYk HSdf`Wdq' i[fZ fZW YaS^ aX VWhW^ab[`Y S` [`\WUfST^W Xad_ aX `S^_WXW`W fZSf i[^^ TW

SV_[`[efWdWV fZdagYZ S` Sgfa[`\WUfad VWh[UW &fZW pHdaVgUfq' fa fdWSf [`V[h[VgS^e iZaeW TdWSfZ[`Y

ZSe e^aiWV ad efabbWV VgW fa S` ab[a[V ahWdVaeW* Eaf* n --* 9UUadV[`Y fa fZW <WTfade( `S^_WXW`W

[e p_adW bafW`f S`V ^a`YWd)^Sef[`Yq fZS` afZWd ShS[^ST^W ab[a[V dWhWdeS^ _WV[USf[a`e egUZ Se

`S^aja`W S`V pUag^V SVVdWee S `WWV iZWdW Wj[ef[`Y fdWSf_W`fe ZShW bdahW` fa TW [`WXXWUf[hW SYS[`ef

fZW iShW aX XW`fS`k^ ahWdVaeWe*q -:% n -,*

       6.      HgdegS`f fa fZW <WhW^ab_W`f 9YdWW_W`f( fZW <WTfade i[^^ egbb^k fZW [`fW^^WUfgS^

bdabWdfk dW^SfWV fa fZW Xad_g^Sf[a` aX `S^_WXW`W S`V bSk UWdfS[` VWhW^ab_W`f Uaefe S`V XWWe( Se

iW^^ Se UWdfS[` _[^Wefa`W bSk_W`fe( fa fZW LWUZ`a^aYk HSdf`Wd* 4;; Eaf* =j* :( <WhW^ab_W`f

9YdWW_W`f mm 0*0( 1*-)1*.* A` dWfgd`( fZW LWUZ`a^aYk HSdf`Wd i[^^ ^[UW`eW fZW d[YZfe fa fZW[d

Sgfa[`\WUfad VWh[UW S`V bdah[VW X[`[eZWV YaaVe fa fZW <WTfade* Eaf* n -,% LZW <WTfade _Sk

fWd_[`SfW fZW <WhW^ab_W`f 9YdWW_W`f Sf S`k f[_W bd[ad fa dWUW[bf aX FWi <dgY 9bb^[USf[a`

SbbdahS^ Tk bSk[`Y S dWSea`ST^W fWd_[`Sf[a` XWW* 4;; );9A7F7H?DC D< .DC /DKC; ?C 4IEEDFH D<

);8HDFGM 0DH?DC <DF &IH>DF?L7H?DC HD *CH;F ?CHD );J;ADEB;CH &=F;;B;CH Q=;> Fa* 4.3R n 5*

       7.      Hd[ad fa X[^[`Y fZ[e efSfW_W`f( fZW ;a__[ffWW dS[eWV i[fZ fZW <WTfade UWdfS[`

Ua`UWd`e dWYSdV[`Y fZW Eaf[a` S`V cgWef[a`WV fZW <WTfader efSfWV `WWV fa eWW] SbbdahS^ aX fZW

<WhW^ab_W`f 9YdWW_W`f &')* 9_a`Y afZWd fZ[`Ye( fZW ;a__[ffWW ef[^^ ZSe Ua`UWd`e dWYSdV[`Y S

`g_TWd aX Seeg_bf[a`e g`VWd^k[`Y fZW <WTfader bda\WUf[a`e Se fa fZW WXXWUf[hW`Wee S`V bafW`f[S^

_Sd]WfST[^[fk aX fZW HdaVgUf* :gf WhW` Seeg_[`Y fZW HdaVgUf [e Se egUUWeeXg^ S`V hS^gST^W fa fZW

9_Wd[US` bgT^[U Se fZW <WTfade bda\WUf( fZW XSUf fZSf fZW HgT^[U @WS^fZ A`[f[Sf[hW &iZ[UZ [`U^gVWe

VWhW^ab_W`f aX fZW HdaVgUf' bdabaeWe fa pbdaVgUW S`V V[efd[TgfW &Sf `a ad ^ai Uaef' _[^^[a`e aX



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VaeWe aX ab[a[V ahWdVaeW dWhWdeS^ _WV[USf[a`eq _Sk TW h[WiWV Se VWbd[h[`Y fZW <WTfader WefSfWe

&S`V fZge fZW[d UdWV[fade' aX S`k WUa`a_[U TW`WX[f Xda_ egUZ [`[f[Sf[hWe* );8HDFGM -C<DFB7H?DC7A

'F?;< Sf 07 ?:%( 9bbW`V[j : Sf h[ &p9e bSdf aX HgdVgWre Ua__[f_W`f fa SVhS`U[`Y _WS`[`YXg^

ea^gf[a`e fa SVVdWee fZW ab[a[V Ud[e[e( fZW Ua_bS`k i[^^ iad] fa Td[`Y XadiSdV fZ[e abf[a` i[fZ fZW

Ua__[f_W`f `af fa bdaX[f Xda_ S`k XgfgdW eS^We aX fZ[e VdgY*q'* LZW HgT^[U @WS^fZ A`[f[Sf[hW fZge

bdabaeWe fa fS]W hS^gW fZSf TW^a`Ye fa UdWV[fade S`V V[efd[TgfW [f fa fZW 9_Wd[US` bgT^[U* OZ[^W fZ[e

_Sk TW S ^SgVST^W YaS^( S`V UWdfS[` UdWV[fade _Sk VWU[VW fa egbbadf [f( afZWd UdWV[fade _Sk

VWfWd_[`W fZSf fZW dWeagdUWe fZW <WTfade eWW] fa VWhafW fa ahWdVaeW dWhWdeS^ _WV[USf[a`e [`

Ua``WUf[a` i[fZ fZW HgT^[U @WS^fZ A`[f[Sf[hW iag^V TW TWffWd ebW`f a` afZWd bdaYdS_e fa bdah[VW

egbbadf fa h[Uf[_e aX fZW ab[a[V Ud[e[e* >ad fZ[e dWSea`( fa fZW WjfW`f fZW Eaf[a` [e SbbdahWV( [f

eZag^V `af TW Ua`e[VWdWV S` W`VadeW_W`f aX fZW HgT^[U @WS^fZ A`[f[Sf[hW( iZ[UZ US``af TW

WXXWUfgSfWV STeW`f TdaSV egbbadf Xda_ fZW <WTfader UdWV[fade*4

II.      'G=<AIEGH 4@EJB< (=I=GCAD= I@= *JIJG= E> 2JG<J=

         8.       LZW <WTfader VWU[e[a` fa eWW] fa SbbdahS^ aX fZW Eaf[a` `ai _gef S^ea TW h[WiWV

[` fZW Ua`fWjf aX fZW[d dWbWSfWV efSfW_W`fe fZSf fZWk SdW fgd`[`Y ahWd fZW W`f[dW hS^gW aX fZW[d WefSfWe

fa UdWV[fade Se iW^^ Se fZW <WTfader Ua__[f_W`f fa S^^ai[`Y fZW[d UdWV[fade VWfWd_[`W fZW XgfgdW aX

HgdVgW* 4;;$ ;%=%$ @drY Ld* Sf .16-.)-0 &KWbf* -2( .,-5' &<WTfader Uag`eW^6 pHgdVgW [e S^ea ZWdW fa

Tg[^V XgdfZWd egbbadf Xad fZW eWff^W_W`f XdS_Wiad] fZSf iag^V fdS`eXWd -,, bWdUW`f aX fZW VWTfade

fa [fe Ua`f[`YW`f U^S[_S`fe*q'7 G;; 7AGD @drY Ld* Sf -156-2)-5 &Fah* -5( .,-5' &LZW ;agdf6 pQLRZW

<WTfade SdW ^SdYW^k [` S GI7 =;C;FDIG Qe[UR bae[f[a` iZWdWTk fZWk ZShW S^dWSVk SYdWWV fa fgd` ahWd


4
  The Committee recognizes the thematic ties between the Public Health Initiative and the Emergency Relief Fund
&fZW pERFq'* The ERF is distinguishable, however, as it contemplates a one-time expenditure (of up to $200 million)
to provide immediate, life-saving resources to address the opioid crisis. By contrast, the Public Health Initiative
V[UfSfWe fZW XgfgdW aX fZW <WTfader Tge[`Wee [` S _S``Wd `af UgddW`f^k egbbadfWV Tk S _S\ad[fk aX fZW <WTfader UdWV[fade
and requires the Debtors to expend significant resources over the course of a decade on pipeline products that have
not yet been proven to be effective.

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S^^ aX fZW[d hS^gW fa fZW[d UdWV[fade*q'* A`VWWV( fZW KWff^W_W`f LWd_ KZWWf bdah[VWe fZSf UdWV[fadeo

S`V `af fZW <WTfade ad fZW KSU]^Wdeoi[^^ _S]W S^^ VWU[e[a`e i[fZ dWebWUf fa fZW Ua_bS`k Xa^^ai[`Y

fZW WXXWUf[hW VSfW aX S UZSbfWd -- b^S`* KWff^W_W`f LWd_ KZWWf n / &pHgdVgW S`V fZW KZSdWZa^VWd

HSdf[We i[^^ ZShW `a da^W( Ua`fda^ ad Ua`eW`f+SbbdahS^ d[YZfe [` QfZW HgT^[U :W`WX[f ;a_bS`kR Xda_

S`V SXfWd fZW =XXWUf[hW <SfW*q'7 ?:* n 0 &pLZW KZSdWZa^VWd HSdf[We * * * i[^^ ZShW `a da^W [` fZW

Sbba[`f_W`f aX fZW bWdea`e ahWdeWW[`Y fZW Ldgef( fZW TaSdV _W_TWde aX QHgT^[U :W`WX[f ;a_bS`kR

ad fZW abWdSf[a`e aX W[fZWd W`f[fk*q'* 9e egUZ( VWU[e[a`e Se fa fZW XgfgdW aX HgdVgWre Tge[`Wee eZag^V

TW _SVW Tk UdWV[fade( `af fZW <WTfade*

        9.      :SeWV a` [`Xad_Sf[a` dWUW[hWV fa VSfW( fZW ;a__[ffWW US` W`h[e[a` Sf ^WSef fZdWW

eUW`Sd[ae [` iZ[UZ [f _[YZf g^f[_SfW^k egbbadf fZW HgT^[U @WS^fZ A`[f[Sf[hW S`V fZW VWhW^ab_W`f aX

Sgfa[`\WUfST^W `S^_WXW`W( iZ[UZ( [X VWhW^abWV egUUWeeXg^^k( _Sk [` XSUf bdah[VW e[Y`[X[US`f TW`WX[f

fa h[Uf[_e aX fZW ab[a[V Ud[e[e6 &[' [X S^^ aX fZW <WTfader e[Y`[X[US`f UdWV[fad Ua`ef[fgW`U[We SYdWW fZSf

fZW HgT^[U @WS^fZ A`[f[Sf[hW [e S iadfZk S`V SffS[`ST^W YaS^ egUZ fZSf fZWk SdW i[^^[`Y fa XadWYa fZW

WefSfW hS^gW VWhafWV fa egUZ bda\WUfe7 &[[' [X fZW <WTfade VWhW^ab S`V Ua__WdU[S^[lW fZW HdaVgUf

&S`V S`k afZWd bdaVgUfe Ua`fW_b^SfWV fa TW VWhW^abWV bgdegS`f fa fZW HgT^[U @WS^fZ A`[f[Sf[hW' [`

S _S``Wd fZSf SXXadVe UdWV[fade fZW abf[a` fa _a`Wf[lW egUZ SeeWfe Xad fZW TW`WX[f aX fZW WefSfWe7 ad

&[[[' [X UdWV[fade fZSf SXX[d_Sf[hW^k egbbadf fZW HgT^[U @WS^fZ A`[f[Sf[hW SdW i[^^[`Y fa SUUWbf fZW

hS^gW bdah[VWV fZdagYZ egUZ [`[f[Sf[hW Se bSk_W`f a` fZW[d U^S[_e* 9e aX fZW X[^[`Y aX fZ[e

KfSfW_W`f( fZWdW [e `a UdWV[fad Ua`eW`ege dWYSdV[`Y S`k aX fZWeW eUW`Sd[ae*

                                           '10'.64-10

        10.     Fafi[fZefS`V[`Y fZW XadWYa[`Y( fZW ;a__[ffWW ZSe VWfWd_[`WV `af fa aT\WUf fa fZW

Eaf[a`( [` bSdf TSeWV a` fZW <WTfader SeegdS`UWe fZSf fZWk SdW `af T[`V[`Y fZW_eW^hWe ad fZW[d

UdWV[fade fa fZW HgT^[U @WS^fZ A`[f[Sf[hW Tk W`fWd[`Y [`fa fZW <WhW^ab_W`f 9YdWW_W`f* LZW



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;a__[ffWW S^ea [e Ua_XadfWV Tk fZW <WTfader WjbdWee ST[^[fk fa fWd_[`SfW fZW SYdWW_W`f Tk bSk[`Y

S dWSea`ST^W fWd_[`Sf[a` XWW* 4;; Eaf* n -/* JSfZWd fZS` iSefW f[_W S`V dWeagdUWe ^[f[YSf[`Y fZW

Eaf[a`( fZW ;a__[ffWW TW^[WhWe [f [e _adW [_badfS`f fZSf fZW bSdf[We XaUge a` dWSUZ[`Y dWea^gf[a`

i[fZ dWebWUf fa fZW `g_Wdage YSf[`Y [eegWe fZSf _gef TW SVVdWeeWV [` fZWeW USeWe( S`V ^WShW

cgWef[a`e Se fa fZW XgfgdW aX HgdVgW Xad S ^SfWd VSfW*



<SfWV6 FWi Pad]( FWi Pad]                      9CAF ?MEH KLJ9MKK @9M=J % >=D< DDH
       >WTdgSdk .,( .,.,

                                               :k6 +e+ &F?@ 3F;?G
                                                   Ira S. Dizengoff
                                                   Arik Preis
                                                   Mitchell Hurley
                                                   Sara L. Brauner
                                                   G`W :dkS`f HSd]
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                                                   SbdW[e8S][`Yg_b*Ua_
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                                                   Counsel to the Official Committee of Unsecured
                                                   Creditors of Purdue Pharma L.P., et al.




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